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DYLAN RUGA (SBN 235969)
JI-IN LEE HOUCK (SBN 280088)
STALWART LAW GROUP
1100 Glendon Ave., Suite 1840
Los Angeles, California 90024
Telephone: (310) 954-2000



                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
ISIAH EUGENE SIMON, an individual,                                   CASE NUMBER
                                                                       18-cv-3671 GW (RAOx)
                                                     Plaintiff(s),
                          v.
ONIKA TANYA MARAJ, p/k/a NICKI MINAJ, an                                   NOTICE OF DISMISSAL PURSUANT
individual; UNIVERSAL MUSIC GROUP, INC., a                                  TO FEDERAL RULES OF CIVIL
Delaware Corporation; and DOES 1-10, inclusive                                  PROCEDURE 41(a) or (c)
                                                  Defendant(s).

PLEASE TAKE NOTICE: (Check one)

    ✔ This action is dismissed by the Plaintiff(s) in its entirety.
    G

    G The Counterclaim brought by Claimant(s)                                                                                is
      dismissed by Claimant(s) in its entirety.

    G The Cross-Claim brought by Claimants(s)                                                                                is
      dismissed by the Claimant(s) in its entirety.

    G The Third-party Claim brought by Claimant(s)                                                                           is
      dismissed by the Claimant(s) in its entirety.

    G ONLY Defendant(s)

         is/are dismissed from (check one) G Complaint, G Counterclaim, G Cross-claim, G Third-Party Claim
         brought by                                                                                                      .

    The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).




        July 14, 2018
                  Date                                                Signature of Attorney/Party




NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
      summary judgment, whichever first occurs.

         F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
         pleading or prior to the beginning of trial.



CV-09 (03/10)            NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
